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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       Case No. 1:21-cr-00699-JDB
                                         :
JOLY GERMINE, et. al.,                   :
    Defendant.                           :


    JOLY GERMIONE’S MOTION FOR PRETRIAL PRODUCTION OF
    EVIDENCE ADMISSIBLE TO ATTACK THE CREDIBILITY OF CO-
   CONSPIRATOR DECLARANTS NOT TO BE CALLED AS WITNESSES
    WITH INCORPORATED MEMORANDUM IN SUPPORT THEREOF

      COMES NOW defendant Joly Germine, by and through his undersigned counsel,

and pursuant to Rule 806 of the Federal Rules of Evidence, the Government’s

constitutional Brady obligations, and Local Criminal Rule 5.1, moves the Court for the

entry of an Order requiring the prosecution to immediately produce all evidence that

would be admissible to attack the credibility of non-testifying co-conspirator

declarants. As grounds, the following is stated:

      1.      In this case, the Government may seek to seek to admit statements under

Rule 801(d)(2)(E) of the Federal Rules of Evidence. When such statement is received

in evidence, “the declarant’s credibility may be attacked . . . by any evidence that would

be admissible fore those purposes if the declarant had testified as a witness.” FRE 806.

      2.      This request is made separate and apart from any request for reports of

interviews or statements made by prospective witnesses, which are producible as

Jencks material. This request is grounded on the Government’s constitutional

obligations, as well as Local Criminal Rule 5.1, to disclose exculpatory information,

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including impeachment information, to the defendant.

      The warning words of the U.S. Supreme Court in United States v. Agurs, 427

U.S. 97, 106 (1976), are appropriate in this context:

      “Although the is, of course, no duty to provide defense counsel with
      unlimited discovery of everything known by the prosecutor, if the subject
      matter of such a request is material, or indeed if a substantial basis for
      claiming materiality exists, it is reasonable to require the prosecutor to
      respond . . . When the prosecutor receives a specific and relevant request,
      the failure to make a response is seldom, if ever, excusable.”

      3.      The defense, especially an indigent defendant, (such as Joly Germine)

unlike the Government, does not have the ability to call upon resources such as the

Federal Bureau of Investigation or another investigative agencies. Locating and

interviewing witnesses is typically a frustrating and a time consuming process. When

the trial itself is underway, te defense has a very limited number of hours outside the

courtroom to devote to other, related, case matters. Most of that time is normally

consumed with trial preparations for the following day. Furthermore, even when

clients have adequate resources, investigators are not always automatically available

to investigate and follow-up on information provided during the trial.

      4.      Consequently, the type of information requested in this motion is such

that effective use cannot be made of it unless there has disclosure well in advance of

the trial. It is essential and constitutionally necessary that the Government

immediately disclose the information requested herein.

      WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, defendant Joly Germine respectfully moves this Court for the


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entry of an Order requiring the prosecution to immediately produce all evidence that

would be admissible to attack the credibility of non-testifying co-conspirator

declarants.

      .

                                      Respectfully submitted,




                                       Allen H. Digitally            signed by
                                                            Allen H. Orenberg

                                       Orenberg             Date: 2023.09.05
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                                      ____________________________
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                                      Counsel for Joly Germine




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                          CERTIFICATE OF SERVICE

      I hereby certify that on the 5th day of September, 2023, I electronically filed the

foregoing Defendant Joly Germine’s Motion for Pretrial Production of Evidence

Admissible to Attack the Credibility of Co-conspirator Declarants Not to Be Called as

Witnesses, with Incorporated Memorandum of Points and Authorities, and a proposed

Order, with the Clerk of the Court. Participants in the case who are registered

CM/ECF users will be served by the District Court’s CM/ECF system.




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                                               Allen H.           by Allen H.
                                                                  Orenberg
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                                               Allen H. Orenberg




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